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     District Court     Boulder County   Boulder Municipal Court                        FILED
                                               Federal Court                 UNITED STATES DISTRICT COURT
   Address:901 19th Street, Denver, CO 80294                                      DENVER, COLORADO
                                                                                      6/7/2023
  Plaintiff:              David William Dacres Shaver                          JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):       Whittier Condominiums HOA,
                          City of Boulder, Officer Brandan Brisco
                                                                    COURT USE ONLY
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address) Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                    23-cv-00645-NYW
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
                                           NOTICE OF APPEAL

       Notice is hereby given that Plaintiff intends by this notice to Appeal this case to the United States

  Court of Appeals for the Tenth Circuit from the ‘Final Order’ [Doc 34] and associated filings, last

  entered in the United States District Court for the District of Colorado on 5.9.2023.



  Signature of ‘Plaintiff’:                   /s/David W
                                                       m Shaver      (PRO SE)      Date:        6.7.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                               Phone:     303-351-4239




                                       CERTIFICATE OF SERVICE
     I hereby certify that a copy of this Notice of Appeal has also been served via having been posted by

  regular mail upon [Suzanne Leff, Attorney, WLPP Law, 8020 Shaffer Parkway, Suite 300, Littleton,

  CO 80127], as well as being served electronically via eMail upon both Suzanne M. Leff <sleff@wlp-

  plaw.com> (current ‘RegisteredAgent’), and Christine Mollenkopf <christine@boulderhoa.com> :

  Whittier HOA billing (located at the prior registered agent's address, ~ at the time of the fire).




  Signature of ‘Plaintiff’:                   /s/David W
                                                       m Shaver      (PRO SE)      Date:        6.7.2023

  Address: 1750 30th St Suite A338, Boulder CO 80301                               Phone:     303-351-4239




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                        FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

  R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Orders of United States District Judge Nina Y. Wang entered on April 12,

  2023 [Doc. 27] and May 9, 2023 [Doc. 33], it is

         ORDERED that the Response and Motion to Stay/Extend Termination/Order of 4.12

  Pending Intended Appeal Outcome [Doc. 32] is DENIED. It is

         FURTHER ORDERED that because Plaintiff’s Complaint has been dismissed without

  prejudice for lack of subject matter jurisdiction, and because Plaintiff has not filed an amended

  pleading by the Court’s deadline, this case is TERMINATED. It is

         FURTHER ORDERED that final judgment is hereby entered in favor of Defendant

  Whittier Condominiums HOA and against Plaintiff David William Dacres Shaver.




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        Dated at Denver, Colorado this 9th day of May, 2023.

                                            FOR THE COURT:
                                            JEFFREY P. COLWELL, CLERK

                                            By: s/Emily Buchanan
                                            Emily Buchanan, Deputy Clerk




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                   Judge Nina Y. Wang

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                               ORDER


         This matter is before the Court on the Response and Motion to Stay/Extend

  Termination/Order of 4.12 Pending Intended Appeal Outcome (the “Motion” or “Motion for

  Interlocutory Appeal”) filed on May 3, 2023 by Plaintiff David William Dacres Shaver (“Plaintiff”

  or “Mr. Shaver”) [Doc. 32]. The Court has reviewed Plaintiff’s Response, the entire docket, and

  the applicable case law.    Because Plaintiff has not established that interlocutory review is

  appropriate in this matter, it is ORDERED that the Motion for Interlocutory Appeal is DENIED.

  And because Plaintiff has not filed an amended pleading by the Court’s May 3, 2023 deadline, it

  is ORDERED that the Clerk of Court shall TERMINATE this case.

                                          BACKGROUND

         This Court set out the factual and procedural background of this case in a prior Order, see

  [Doc. 27], and does so again here only as necessary for purposes of this Order. Mr. Shaver initiated

  this civil action on March 13, 2023 against Defendant Whittier Condominiums HOA

  (“Defendant”). See [Doc. 1]. The Complaint states that “[t]his is an action to recover possession




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  of personal property and/or damages.” [Id. at 1]. On March 14, 2023, this Court entered an Order

  to Show Cause directing Plaintiff to show cause why his case should not be dismissed without

  prejudice for lack of subject matter jurisdiction. See [Doc. 16]. The Court noted that the Complaint

  does not clearly allege any violation of federal law or assert another basis for federal jurisdiction.

  [Id. at 2 n.2 (noting that Plaintiff did not invoke diversity jurisdiction), 3]. And while the Court

  acknowledged that other filings in this case suggested that Plaintiff believes his constitutional

  rights have been violated, see, e.g., [Doc. 9 at 3], the Court noted that “Plaintiff does not allege

  that Defendant is a government actor, and it does not appear plainly on the face of the Complaint

  that it is.” [Doc. 16 at 4].

          Mr. Shaver responded to the Order to Show Cause on March 31, 2023, raising numerous

  purported bases for the Court’s subject matter jurisdiction. See [Doc. 24]. The Court went through

  each asserted jurisdictional basis and explained why each was insufficient to establish the Court’s

  subject matter jurisdiction. See [Doc. 27 at 6–13]. Because the Court lacked subject matter

  jurisdiction over the case, the Court dismissed Plaintiff’s Complaint without prejudice, but sua

  sponte granted Plaintiff leave to file an amended pleading within 21 days of the Court’s Order—

  or May 3, 2023. [Id. at 13]. In so doing, the Court explained to Plaintiff the pleading requirements

  set forth in Rule 8. [Id. at 13–14]. The Court also expressly advised Plaintiff that “if he declines

  to file an amended complaint by the Court’s deadline, the Court will direct the Clerk of

  Court to terminate this case.” [Id. at 13 (emphasis in original)].

          Mr. Shaver did not file an amended pleading by the Court’s deadline; instead, he filed the

  Motion for Interlocutory Appeal. Therein, he asserts that “Plaintiff, and his advisors believe, with

  what they think is significant researched® [sic] basis for such belief, that all of this Court’s

  positions against the original Complaint are arguable in the circumstances.” [Doc. 32 at 1]. He



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  states that he is “still of the opinion and belief that subject matter jurisdiction should be logically

  and/or legally determinable from provided filings.” [Id.]. And he posits that “it appears that

  addressing some of these issues may require the involvement of Higher Courts under the

  circumstances of this case.” [Id. at 2]. Thus, Plaintiff “Provides Notice that he Intends [to] Appeal

  of these or other ~Order Issues [sic].” [Id. (emphasis omitted)]. Plaintiff requests that the Court

          Stay its Order i.e. terminating Plaintiff’s case (&| provide for support for any
          ‘Interlocutory Appeal’/certifications {i.e. via 28 U.S.C. § 1292(b)} which may be
          necessary or appropriate in such an instance), & Extend deadlines for Amendation
          [sic] of Complaint or other Filings until or for determination of Appeal outcome(s),
          &| for any other necessary &| just &| appropriate relief.

  [Id.]. Accompanying the Motion is a Brief in Support of Complaint for Replevin +/ Preliminary

  Injunction, see [Doc. 31], which Plaintiff states is “inclusive of said precedents*, in order that this

  Court [sic] may factor its findings into its own consideration.” [Doc. 32 at 1]. The Court construes

  the Motion as requesting certification of this case for interlocutory appeal and a corresponding

  extension of time to file an amended pleading.

                                               ANALYSIS

          Under 28 U.S.C. § 1292, a district court may certify an issue for interlocutory appeal if

  three criteria are met: (1) the order involves a “controlling question of law;” (2) there is “substantial

  ground for difference of opinion” as to the resolution of the question; and (3) certification “may

  materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). “A district

  court has discretion in determining whether to certify an order for interlocutory appeal.” Ebonie

  S. ex rel. Mary S. v. Pueblo Sch. Dist. 60, No. 09-cv-00858-WJM-MEH, 2011 WL 1882829, at *2

  (D. Colo. May 17, 2011). However, interlocutory appeals are “traditionally disfavored.” Vandiver

  v. MG Billing Ltd., No. 21-cv-02960-CNS-MDB, 2023 WL 3247286, at *1 (D. Colo. May 4,

  2023). This is because interlocutory appeals “are necessarily ‘disruptive, time-consuming, and


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  expensive’ for the parties and the courts.” Vallario v. Vandehey, 554 F.3d 1259, 1262 (10th Cir.

  2009) (quoting Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 294 (1st Cir. 2000)); see

  also Goldberg v. UBS AG, 690 F. Supp. 2d 92, 101 (E.D.N.Y. 2010) (noting that an interlocutory

  appeal may “prolong judicial proceedings, add delay and expense to litigants, burden appellate

  courts, and present issues for decisions on uncertain and incomplete records, tending to weaken

  the precedential value of judicial opinions”). Thus, courts only certify issues for interlocutory

  appeal in exceptional circumstances. Vandiver, 2023 WL 3247286, at *1.

         Mr. Shaver raises no substantive argument under § 1292(b) and does not explain why the

  statute’s three criteria are met here. See generally [Doc. 32]. Although Mr. Shaver proceeds pro

  se and is entitled to a liberal construction of his filings, Haines v. Kerner, 404 U.S. 519, 520–21

  (1972), the Court cannot act as his advocate. Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.

  1991). In other words, the Court cannot raise arguments on behalf of Mr. Shaver that he does not

  raise himself. See United States v. Davis, 622 F. App’x 758, 759 (10th Cir. 2015) (“[I]t is not this

  court’s duty, after all, to make arguments for a litigant that he has not made for himself.”).

         In any event, the Court cannot conclude that this case presents the exceptional

  circumstances necessary to permit an interlocutory appeal. First, Mr. Shaver has not explained

  why this case involves a “substantial ground for difference of opinion,” as required by § 1292(b).

  This Court explained to Plaintiff, in detail, why all of his asserted bases for subject matter

  jurisdiction are insufficient to establish the Court’s jurisdiction over this case. [Doc. 27 at 6–13].

  Specifically, the Court explained that many of the federal laws cited by Plaintiff in his Response

  to the Order to Show Cause are absent from his Complaint, see [id. at 8–9], and many of the

  federal-law doctrines cited by Plaintiff are not independent bases of federal jurisdiction. [Id. at 9–



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  11]. Furthermore, Plaintiff has not demonstrated that this state-law case involves a substantial

  question of federal law. [Id. at 11–13]. In reaching these conclusions, the Court relied on settled

  Tenth Circuit and Supreme Court precedent. See [id. at 6–13]. While Plaintiff states that he and

  “his advisors” disagree with the Court’s conclusions, see [Doc. 32 at 1], mere disagreement with

  the Court’s decision is insufficient to demonstrate a substantial ground for difference of opinion.

  See Diaz v. King, No. CV 14-1086 KG/SCY, 2016 WL 8925344, at *3 (D.N.M. Jan. 13, 2016)

  (“Plaintiff’s mere disagreement with the Court’s Order of Partial Dismissal does not constitute a

  substantial ground for difference of opinion.”); see also Couch v. Telescope Inc., 611 F.3d 629,

  633 (9th Cir. 2010) (explaining that a “substantial ground for difference of opinion” may exist

  where “the circuits are in dispute on the question and the court of appeals of the circuit has not

  spoken on the point, if complicated questions arise under foreign law, or if novel and difficult

  questions of first impression are presented.” (quotation omitted)). This case does not involve an

  unsettled question of law, but instead the simple question of whether Plaintiff has demonstrated a

  basis for this Court’s subject matter jurisdiction over a replevin action asserted under state law.

  Mr. Shaver has not demonstrated a substantial ground for difference of opinion warranting an

  interlocutory appeal.

         Furthermore, the Court does not believe that an interlocutory appeal would materially

  advance the outcome of this litigation. It is clear to the Court that despite this Court’s dismissal

  of Plaintiff’s Complaint and sua sponte grant of leave to file an amended pleading, Mr. Shaver

  does not intend to file an amended complaint to cure the jurisdictional defects identified by the

  Court, and instead seeks review of the Court’s Order by a higher court. It would not be in the

  interest of judicial economy to certify the case for interlocutory appeal, which would effectively



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  stay this case pending the outcome of the appeal, leaving a dormant case—over which this Court

  has concluded it lacks subject matter jurisdiction—on this Court’s docket. See Gometz v. Knox,

  No. 07-cv-01734-BNB, 2007 WL 2986165, at *1 (D. Colo. Oct. 9, 2007) (denying request for

  interlocutory appeal where the plaintiff “assert[ed] that he ha[d] no intention of complying with

  Magistrate Judge Shaffer’s order to cure the deficiencies” in his complaint and instead sought an

  interlocutory appeal). The more appropriate option, which was expressly communicated to

  Plaintiff in the Court’s prior Order, is to direct the Clerk of Court to terminate this case, given the

  dismissal of Plaintiff’s Complaint, the Court’s lack of subject matter jurisdiction over this case,

  and Mr. Shaver’s failure to file an amended pleading by the Court’s deadline. Should Mr. Shaver

  seek to appeal the Court’s dismissal, he is free to file a notice of appeal. See Amazon, Inc. v. Dirt

  Camp, Inc., 273 F.3d 1271, 1275 (10th Cir. 2001) (“Although a dismissal without prejudice is

  usually not a final decision, where the dismissal finally disposes of the case so that it is not subject

  to further proceedings in federal court, the dismissal is final and appealable.”); cf. Interstate Med.

  Licensure Compact Comm’n v. Bowling, No. 20-cv-02942-CMA-NRN, 2023 WL 2018902, at *4

  (D. Colo. Feb. 15, 2023) (“Ms. Bowling is certainly entitled to appeal the final decision in this

  case, but the Court will not go against Congress’s will by allowing an interlocutory appeal solely

  because a party intends to file an appeal in the future.”). Stated differently, because an order

  closing the case would lead to the same result—an appeal of the Court’s Order—as an order

  certifying the issue for interlocutory appeal, certification would not “materially advance” the

  resolution of this litigation, as required under § 1292(b).

          Finally, insofar as Mr. Shaver requests an extension of time to file an amended pleading,

  the basis for this request is solely to permit him to file an interlocutory appeal of this Court’s Order



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  dismissing his Complaint without prejudice. See [Doc. 32 at 2 (requesting that the Court “Extend

  deadlines for Amendation [sic] of Complaint or other Filings until or for determination of Appeal

  outcome(s)”)]. Because the Court finds no basis to permit an interlocutory appeal, and because

  Mr. Shaver has made clear that he does not intend to file an amended pleading prior to appellate

  review of this Court’s dismissal of the Complaint, the Court declines to grant an extension of Mr.

  Shaver’s deadline to file an amended pleading.

         Accordingly, the Court will DENY the Motion for Interlocutory Appeal. Because this

  Court has already dismissed Plaintiff’s Complaint without prejudice for lack of subject matter

  jurisdiction, and because Mr. Shaver has not filed an amended pleading by the Court’s deadline, it

  is further ORDERED that the Clerk of Court shall TERMINATE this case.

                                          CONCLUSION

         For the reasons set forth herein, it is hereby ORDERED that:

         (1)     The Response and Motion to Stay/Extend Termination/Order of 4.12 Pending

                 Intended Appeal Outcome [Doc. 32] is DENIED; and

         (2)     Because Plaintiff’s Complaint has been dismissed without prejudice for lack of

                 subject matter jurisdiction, and because Plaintiff has not filed an amended pleading

                 by the Court’s deadline, the Clerk of Court is DIRECTED to TERMINATE this

                 case; and

         (3)     A copy of this Order shall be sent to:

                 David William Dacres Shaver
                 1750 30th Street
                 #A338
                 Boulder, CO 80301




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  DATED: May 9, 2023                           BY THE COURT:



                                               _______________________
                                               Nina Y. Wang
                                               United States District Judge




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